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     8:21-cr-00348-SCB-SPF
          1:21-sw-00315-ZMF Document
                            *SEALED* 193-1
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          1:21-sw-00315-ZMF Document
                            *SEALED* 193-1
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Case Case
     8:21-cr-00348-SCB-SPF
          1:21-sw-00315-ZMF Document
                            *SEALED* 193-1
                                      Document
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     8:21-cr-00348-SCB-SPF
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                            *SEALED* 193-1
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Case Case
     8:21-cr-00348-SCB-SPF
          1:21-sw-00315-ZMF Document
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Case Case
     8:21-cr-00348-SCB-SPF
          1:21-sw-00315-ZMF Document
                            *SEALED* 193-1
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Case Case
     8:21-cr-00348-SCB-SPF
          1:21-sw-00315-ZMF Document
                            *SEALED* 193-1
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Case Case
     8:21-cr-00348-SCB-SPF
          1:21-sw-00315-ZMF Document
                            *SEALED* 193-1
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Case Case
     8:21-cr-00348-SCB-SPF
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                            *SEALED* 193-1
                                      Document
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Case Case
     8:21-cr-00348-SCB-SPF
          1:21-sw-00315-ZMF Document
                            *SEALED* 193-1
                                      Document
                                           Filed 707/11/22
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Case Case
     8:21-cr-00348-SCB-SPF
          1:21-sw-00315-ZMF Document
                            *SEALED* 193-1
                                      Document
                                           Filed 707/11/22
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Case Case
     8:21-cr-00348-SCB-SPF
          1:21-sw-00315-ZMF Document
                            *SEALED* 193-1
                                      Document
                                           Filed 707/11/22
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Case Case
     8:21-cr-00348-SCB-SPF
          1:21-sw-00315-ZMF Document
                            *SEALED* 193-1
                                      Document
                                           Filed 707/11/22
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Case Case
     8:21-cr-00348-SCB-SPF
          1:21-sw-00315-ZMF Document
                            *SEALED* 193-1
                                      Document
                                           Filed 707/11/22
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Case Case
     8:21-cr-00348-SCB-SPF
          1:21-sw-00315-ZMF Document
                            *SEALED* 193-1
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Case Case
     8:21-cr-00348-SCB-SPF
          1:21-sw-00315-ZMF Document
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Case Case
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          1:21-sw-00315-ZMF Document
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Case Case
     8:21-cr-00348-SCB-SPF
          1:21-sw-00315-ZMF Document
                            *SEALED* 193-1
                                      Document
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Case Case
     8:21-cr-00348-SCB-SPF
          1:21-sw-00315-ZMF Document
                            *SEALED* 193-1
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Case Case
     8:21-cr-00348-SCB-SPF
          1:21-sw-00315-ZMF Document
                            *SEALED* 193-1
                                      Document
                                           Filed 707/11/22
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Case Case
     8:21-cr-00348-SCB-SPF
          1:21-sw-00315-ZMF Document
                            *SEALED* 193-1
                                      Document
                                           Filed 707/11/22
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Case Case
     8:21-cr-00348-SCB-SPF
          1:21-sw-00315-ZMF Document
                            *SEALED* 193-1
                                      Document
                                           Filed 707/11/22
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Case Case
     8:21-cr-00348-SCB-SPF
          1:21-sw-00315-ZMF Document
                            *SEALED* 193-1
                                      Document
                                           Filed 707/11/22
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Case Case
     8:21-cr-00348-SCB-SPF
          1:21-sw-00315-ZMF Document
                            *SEALED* 193-1
                                      Document
                                           Filed 707/11/22
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Case Case
     8:21-cr-00348-SCB-SPF
          1:21-sw-00315-ZMF Document
                            *SEALED* 193-1
                                      Document
                                           Filed 707/11/22
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Case Case
     8:21-cr-00348-SCB-SPF
          1:21-sw-00315-ZMF Document
                            *SEALED* 193-1
                                      Document
                                           Filed 707/11/22
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Case Case
     8:21-cr-00348-SCB-SPF
          1:21-sw-00315-ZMF Document
                            *SEALED* 193-1
                                      Document
                                           Filed 707/11/22
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          1:21-sw-00315-ZMF Document
                            *SEALED* 193-1
                                      Document
                                           Filed 707/11/22
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Case Case
     8:21-cr-00348-SCB-SPF
          1:21-sw-00315-ZMF Document
                            *SEALED* 193-1
                                      Document
                                           Filed 707/11/22
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Case Case
     8:21-cr-00348-SCB-SPF
          1:21-sw-00315-ZMF Document
                            *SEALED* 193-1
                                      Document
                                           Filed 707/11/22
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Case Case
     8:21-cr-00348-SCB-SPF
          1:21-sw-00315-ZMF Document
                            *SEALED* 193-1
                                      Document
                                           Filed 707/11/22
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Case Case
     8:21-cr-00348-SCB-SPF
          1:21-sw-00315-ZMF Document
                            *SEALED* 193-1
                                      Document
                                           Filed 707/11/22
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Case Case
     8:21-cr-00348-SCB-SPF
          1:21-sw-00315-ZMF Document
                            *SEALED* 193-1
                                      Document
                                           Filed 707/11/22
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Case Case
     8:21-cr-00348-SCB-SPF
          1:21-sw-00315-ZMF Document
                            *SEALED* 193-1
                                      Document
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Case Case
     8:21-cr-00348-SCB-SPF
          1:21-sw-00315-ZMF Document
                            *SEALED* 193-1
                                      Document
                                           Filed 707/11/22
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Case Case
     8:21-cr-00348-SCB-SPF
          1:21-sw-00315-ZMF Document
                            *SEALED* 193-1
                                      Document
                                           Filed 707/11/22
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Case Case
     8:21-cr-00348-SCB-SPF
          1:21-sw-00315-ZMF Document
                            *SEALED* 193-1
                                      Document
                                           Filed 707/11/22
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Case Case
     8:21-cr-00348-SCB-SPF
          1:21-sw-00315-ZMF Document
                            *SEALED* 193-1
                                      Document
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Case Case
     8:21-cr-00348-SCB-SPF
          1:21-sw-00315-ZMF Document
                            *SEALED* 193-1
                                      Document
                                           Filed 707/11/22
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Case Case
     8:21-cr-00348-SCB-SPF
          1:21-sw-00315-ZMF Document
                            *SEALED* 193-1
                                      Document
                                           Filed 707/11/22
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Case Case
     8:21-cr-00348-SCB-SPF
          1:21-sw-00315-ZMF Document
                            *SEALED* 193-1
                                      Document
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     8:21-cr-00348-SCB-SPF
          1:21-sw-00315-ZMF Document
                            *SEALED* 193-1
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     8:21-cr-00348-SCB-SPF
          1:21-sw-00315-ZMF Document
                            *SEALED* 193-1
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     8:21-cr-00348-SCB-SPF
          1:21-sw-00315-ZMF Document
                            *SEALED* 193-1
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          1:21-sw-00315-ZMF Document
                            *SEALED* 193-1
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Case Case
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          1:21-sw-00315-ZMF Document
                            *SEALED* 193-1
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Case Case
     8:21-cr-00348-SCB-SPF
          1:21-sw-00315-ZMF Document
                            *SEALED* 193-1
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Case Case
     8:21-cr-00348-SCB-SPF
          1:21-sw-00315-ZMF Document
                            *SEALED* 193-1
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Case Case
     8:21-cr-00348-SCB-SPF
          1:21-sw-00315-ZMF Document
                            *SEALED* 193-1
                                      Document
                                           Filed 707/11/22
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Case Case
     8:21-cr-00348-SCB-SPF
          1:21-sw-00315-ZMF Document
                            *SEALED* 193-1
                                      Document
                                           Filed 707/11/22
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Case Case
     8:21-cr-00348-SCB-SPF
          1:21-sw-00315-ZMF Document
                            *SEALED* 193-1
                                      Document
                                           Filed 707/11/22
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Case Case
     8:21-cr-00348-SCB-SPF
          1:21-sw-00315-ZMF Document
                            *SEALED* 193-1
                                      Document
                                           Filed 707/11/22
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Case Case
     8:21-cr-00348-SCB-SPF
          1:21-sw-00315-ZMF Document
                            *SEALED* 193-1
                                      Document
                                           Filed 707/11/22
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Case Case
     8:21-cr-00348-SCB-SPF
          1:21-sw-00315-ZMF Document
                            *SEALED* 193-1
                                      Document
                                           Filed 707/11/22
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Case Case
     8:21-cr-00348-SCB-SPF
          1:21-sw-00315-ZMF Document
                            *SEALED* 193-1
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     8:21-cr-00348-SCB-SPF
          1:21-sw-00315-ZMF Document
                            *SEALED* 193-1
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